     Case 2:18-bk-15829-NB         Doc 149 Filed 12/07/18 Entered 12/07/18 16:41:08                   Desc
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2                                                                        FILED & ENTERED
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5                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
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8                          UNITED STATES BANKRUPTCY COURT

9                            CENTRAL DISTRICT OF CALIFORNIA

10                                   LOS ANGELES DIVISION
11
12    In re:                                              Case No.:     2:18-bk-15829-NB

13    Philip James Layfield,                              Chapter:      7

14                                                        ORDER (1) CONTINUING HEARINGS AND
                                                          (2) MEMORIALIZING TENTATIVE
15
                                                          RULINGS
16                                            Debtor(s)
                                                          Hearing Date:
17                                                        Date: 12/6/18
                                                          Hour: 10:00 a.m.
18                                                        Place: Courtroom 1545
                                                                 255 E. Temple Street
19                                                               Los Angeles, CA 90012

20
               At the time and place set forth above, this Court held a hearing on various
21
     matters in three interrelated cases: (a) In re Layfield & Barrett, APC, Case No. 2:17-bk-
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     19548-NB (“L&B”); (b) In re Layfield, Case No. 2:18-bk-15829-NB (“Lay-Invol.”); (c) In re
23
     Maximum Legal (Cal.), LLP, Case No. 2:17-bk-18433-NB (“Max-CA”) (collectively, the
24
     “Layfield-Related Cases”). Appearances were as noted on the record.
25
               Prior to the hearing, this Court posted written tentative rulings. The tentative
26
     rulings for the L&B status conference, which addresses all matters that were on for
27
     hearing and related issues, is attached hereto and incorporated herein.
28



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1             At the hearing, this Court adopted, with slight modification, the tentative rulings.
2    Parties who lodge proposed orders are directed to refer to these tentative rulings and
3    incorporate them by reference into their orders.
4             Additionally, this Court rescheduled multiple hearings, including those set forth
5    below.
6             It is hereby ORDERED:
7             1. The Status Conferences in the three Layfield Related Cases are continued to
8    December 18, 2018 at 2:00 p.m.
9                                                  ###
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          Date: December 7, 2018
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